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                           Exhibit 1
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                                                                                               Page 1
                      IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE
           ________________________________
           SANOFI-AVENTIS U.S. LLC, et al.,)
                              Plaintiff,                         )
                v.                                               )       Case No.
                                                                 )       20-804-RGA
           ACTAVIS LLC, et al.,                                  )
                                                                 )
                              Defendants.                        )
           ________________________________)




                CONFIDENTIAL -- SUBJECT TO PROTECTIVE ORDER
                DEPOSITION OF WALTER M. STADLER, M.D., FACP
                                   APPEARING REMOTELY


                                        March 26, 2021
                                            8:08 a.m.


           Reported by:           Lori J. Goodin, RPR, CLR, CRR,
                            RSA, California CSR #13959
           ______________________________________________________
                                        DIGITAL EVIDENCE GROUP
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                                                                                               Page 2
      1                            REMOTE APPEARANCES:
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                                                                                               Page 3
      1              REMOTE APPEARANCES CONTINUED:
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     19
     20
     21
     22



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                                                                                            Page 139
      1                           MR. ALUL:          Same objections.
      2                           THE WITNESS:            So, improving survival
      3          in an individual patient is the potential for
      4          that patient to live longer, understanding
      5          that he may not be, one does not know ahead
      6          of time whether that outcome will be realized.
      7    BY MR. MINION:
      8               Q.          In Paragraph 30 of your report --
      9    no, not 30 --
     10                           If you go to Paragraph 41 of the
     11    claim construction.                 And so there is a claim term
     12    Increasing Survival.
     13               A.          I see that.
     14               Q.          And you understand that the term
     15    increasing survival is a comparative term?
     16               A.          That is correct.
     17                           MR. ALUL:          Objection to form.                  Hang
     18          on a second, Dr. Stadler, sorry.                             Objection
     19          to form.         Calls for a legal conclusion.
     20    BY MR. MINION:
     21               Q.          So, when, when someone writes in a
     22    scientific journal that a particular drug



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                                                                                            Page 140
      1    increases survival, they are saying that that
      2    drug increases survival as compared to either no
      3    drug treatment or an alternate treatment.                                    Right?
      4                           MR. ALUL:          Same objections.
      5                           THE WITNESS:            In general, increasing
      6          survival means that these metrics were
      7          improved with a new treatment in comparison
      8          to something else including no treatment.
      9    BY MR. MINION:
     10               Q.          Okay.      But when you --
     11                           The term increasing survival has to
     12    be compared to something else.
     13                           MR. ALUL:          Same objections.
     14                           THE WITNESS:            That is a fair
     15          statement.
     16    BY MR. MINION:
     17               Q.          Okay.      And it is your position that
     18    you believe the comparator for the claims at
     19    issue is to what?
     20                           MR. ALUL:          Objection as to form.
     21          Calls for a legal conclusion.
     22                           THE WITNESS:            So, my understanding



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                                                                                            Page 141
      1          from these claims is that there has been
      2          improved survival versus the control
      3          treatment, mitoxantrone, as demonstrated in
      4          the TROPIC trial.
      5                           MR. MINION:           Do you, Dan, do you
      6          have Tab 50?
      7                           THE VIDEOGRAPHER:                I do.
      8                           MR. MINION:           Can you mark that,
      9          please?
     10                           THE VIDEOGRAPHER:                Sure, that will
     11          be Exhibit 11.
     12                                 (Stadler Exhibit 11
     13                                   marked for identification.)
     14    BY MR. MINION:
     15               Q.          We, Dr. Stadler, do you recognize
     16    this Exhibit 11?
     17               A.          This appears to be the FDA label for
     18    docetaxel, more specifically Taxotere?
     19               Q.          And I was asking earlier when we
     20    were looking at your standardized order for
     21    cabazitaxel, and inquiring what your University
     22    of Chicago Medical Center uses in terms of



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